~ ,;,. ,. . .,~• 1•P01 u.,.-                                                                                                                                   '" 'iH'" ·" ~" "~" '·t:f"i '~" -" rt•-,..., ., .,- ,.....~ 1.,.~,....,,e~,. -. ,_
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             PAMfl.A SEUN:Efi
              r~M Sf.l.tN:ER                                                                                                                                                                                                  Cusmmer l[_i· :51'A-3
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         CRICKET HOtlOW ZOO
         'i5122IOTH STREET
                                                                                                                                                                                                                                                     Type· RJ.)1..mNE INSPECTION
                                                                                                                                                                                                                                                      Da1e· Ar.;g-10-;'>'111
         MANCHESTER, tA. 52057
                                                                                                                                  it    i1   ,l   ~   :•       I   F !ii!     ¥&Ht.st.111·          ·n    I 1i.i111           LM!M"j~~•sP !£              l     Wif*I                  . \ 9* -     H. ?"




             Each ooa!er shall estab:Jsh and maintain a: progn1m of ade--~u~te vt;:ternary ca,re thai inouoes the use or appropriate
             mf!lhriQs to ;w~~m.. oor'itmi. disgl"lose. and tr~t disea~.ii!S ano injuries.

         Salim.;i., a 36 ~·ear 0111 rk~maa,-yal3 babr_,or;, i$ exoossivel)' thin . is ;:;howing signs of musclt:: 11)5-5, and has e~pef»encoo
         genera:Jiz:ed hair l.o'.!J-s_ This baboon "ttiS ~'IU1 beem evaluated by the aUeridir.g '>'eterinarian. Far..1ur~ tt1 rZt'llE!' !ler
         c·.·aluatoo do.es not PfO\•lde- ~or 11or health and 'Nf#i o0ing Sailmii m•.1-s.1 oo ev.atualc-ld by tne: attondir.g vc·t-Or•narian
         ::ird the presc(tied trea1menf m"<J5f bf' administer-P-d. To be oorrRc~e.:1 by: i\;)glJ~~ 2B, 20! 1. )0 &t>v\"t>

         TM calico b.Jck goat has e.xcessi·,_1el~,. long hi:;.o\/e& or its mar lc,..gs facc-s.s!•.teiy Jong hoo...'es can eai.Jst:1 Dain and
         drswmfcrt to toe go.at. F1_.rth~r, it may c•~vse ttie g~t 10 alter i~s ~tar;ee or it$ gait ,:;;nd crea~e ~i11sculoske1eta! P-f:if'3~ed
,......,,,\ J~$u{I:,,, lhe QtliClt's tiou~~s rtru~t ba trir')l'flll>'<d to r(;lmov1:1 tht! M)iwssive ,~rowih. ·re be ct;:iH>i:ICtf:!d by: Auyi.;st 2G. 2011.



    '·   . . ,.4                                     ik)
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j        OUTDOOR HOUSING FACILITIES.
         St,elters- ir.; -outdoor fa~iliiies for oogs or Gats                                                                                                 ""11 ;;st     ctJ:'"itai., a r.;:iof, f·OiJf sic es, anc •1 toor aM- be prc-viooo w-tn a ''•''no
                and rein break at the errtranc:e.
         hrf!!fl~


         Cne: of tre .sheliers in tht';! Shee¢og er..:::;(1$!.;re d~s                                                                                                                r-...):; have a iloo.r. Neiiher of 1hEi sr:.el11J;rs ha$ a v1i.nij aoo r~in
         tireailt al the enrr.:aw....a.



         The j.fltilt-er 1rust be alter~ so 1ha: it has a floor or rep!cacw witr a shelte-:- 1ria.1 ooc.-s. Atsc, eacr s!lr.r-it-0r 1::.us~ ti.;
         ,m:i...~d A•ith 3 wiri(:I er n;t:in bnw:ik 111 the. entraT.e-. To- be r,orrei;t~ by·: ~~embf!r 16, 2011. ~ ~~\.




         p       ,T       F1                                n                                  llJ              ii        f         y        H.       ll?llti.A•              •111T9'TP,                 ,,. T. ··11rt •n1n                         lltlillff   P,Y 1,1           1      I      .if .•          f ,1W:f,1       fiF II           •




                                                                CVNTHtA M NElS, A C I                                                                                                     IJSOA.. A.PHIS, .Animal Care                                                                                              Date:
                      Title:                                   .ANIM.l\l CARE INSPECTOR                                                                                                   Inspect.or ~ 041                                                                                                          At(t·1?-2(111




                      Title:                                                                                                                                                                                                                                                                                        Avg-19-20 11


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                                                                                    Inspection Report

         f!.53                                ti)


    v    Pr:mar:;.encloow~es                shall be stNc.i:uralty souna and maintainiect f!l giood re.p.'1if ~o protect the .rabbtts irorn injury to
         cor::1ain them, and to keep pr&dators out.

         The -oonter di•1ider in c.ne of 1he Angora raooit ooxes ;)sin cisrl?.,pair. The divder has                                                      ccne il'...'a'f from th~ .,..•oof.i
         supports af\d has resulted m wire P.m1rudmg lr.to an arlf.:1ooure.




         3.56                    :af


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         SA~TATION.

,        Cteat;ing oi prilnary enclosu<es Primary em:;l-::•svres shat! tie i-iept rea~orabl)· froo oi ellvre1a, ri.a.r oob•\letlS ana otner
         d~br4s tly pafi,'Jciio clean;ng.

         Ai:   ,.,f thi;; ~r boxes d the1abbtt ~ have an e:tcessht& a.ccumt,UGtion ci anir:•ial ''"aste in t~em resol1irig in
         t~bbil:S      ha'V':r1g to ·•V£1ik arid lay >n their c..'l'!NO excreta.




         Storage. Supplies ef i~ Bod bet::IQlng must be stereo •fl a manner that protects the svwhes from spoilage .
        .:;:or~rni na:t;;ii-:, and i/t=;rmin loie¢iation. The s.1.1ppii~ rrrust oe sk;lr<';'d off the fk1or and <;iway tr:Jm the WQ!fs, ta a:'IO'N
        C:!fi'1itH19 undl:n)(lalJ'l ana .drouna                ino
                                                    suppU~s.. t:m."d 1Y.;,(ft.1tM~Q ;rfrft>Jol'llb:::in ·ITIU:S:l sta(1J.d accon:Mgl1.. aM all looooo
        mus1 be m:orec .n a manner that ;:ire1.·ents contam<nat~on and ee~efioraoori •::>f 'ts nu1rit:we Wi.lue Q'11Y the food anc
        beddif1'9 eurrendy being. used may he k.ep1 in :.wimal araas. arid wb~t~ not hn actual usa, open fuod and !.ledding
        s;.rpo!~s mi..ist ta:· kept in lt>akptoof wntainrws ·«ilh tightly l'itMg Ho:; !Cl pt{Went s:oo.1lage and cor1ta:miration.

        Open boxtts ol 1rnit ate bC!ing s.!on~d in both i:if tha !tont\urYH!itl pnmaJe housh1g <11reas. ~n OO;(es of fruit ant:
        proci\Jct:: are ovlng storoo 10 tho re:.µtile hOJ.J~ anu 1.n tne t-dacaoonai center Thc.se fooO&iuffs are used thrOJ..;.Qt')O;Jt
        1h~ rac,1iiitieis. Nofli! of the$e items w~rei being refrig~r~fed. t;:<:~ive ru~ find fm:t !fi~t; werEr h1;iverlng 01,,•e-r fh11:
        foorJstu'h•. Se:1:~ frutt ~r'id preduea appaatoo totttln .r:.;nd moldy.




    1    -..m.     :   FTlJ!Ul.t11111J1rt   "'rr rr:nu   1·• 1l•m,r;   •   ffftll(<lil1¥.t   IT Iii 117 51   tsr ,   Ql8   t   & i   j   if"   J    ••                 r -., w   n ar   . IP   , !f   n   ii




                                       CYNTH A M NBS, AC I
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                                                                                               USDA. APHIS. Animal Care                                           .. •."Date'!

                 TltJe:                ANJMAi... CARE iNSPECTOR                                Inspector 1041                                                        .A1;g·17-2t.H 1


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·'          ?,.i\!L.liUi; f liliWil!ll!if,ipllCf .... A   Pi- ,i-fU .1· ,i1Tiii. fiM• "11          1   l:i.'Mi,T.   Q                       ll. pr" r·1       J ·     tn_·1       i!       ..•r•      ""· r     .. mur n   w    ii.'




                    rw tooostu~~ must oo stornd in a maflncr 'H""llCT!: prat~ets it ftotr ront;r.;m1natiot\ spotJage. and vcrrr1in mfos1atian. All
                  fooo storage areas .$h,~11 be m.:11in1ained or: ~ regulaf c.:tsis To oo ct1rrecteo by: September 161 2,011 .

                p.77                              1c:1
         -/ SHElT£RED HOUStNG FACfllTlfS.
                 Ughting. The sheileroo part of sheOerett roti;,;lng f::tci ities. must re itgmed •vell encugn to permit rGJt:ine in~ctioo
                 ard deariir,,g ot the fac;My, and observation of ~he nonht.:m~n p;im.~tes. Anim~I areas must be pmvi!led a reg1.,ilar
                 diutl'a: ilgrtliOIJ -cy-elc. ot cithf.lr na1un11 or arriri1.::1itl li901 L{Jhtmg .mu$t oo t.m"omuy ditfust<t rhti:i:...1gnou' afilmat tac1~lt1e:S
                 ard pri:;,'+i<le :5t1fficient if!:)minaoon to aid in f'!"iaintatning gooo :noLJSeJ.l,eeptni;t praetice-s, aoeq1.ra1e oearnfi!j, adf.'.thJa1e
                 inspection or an!rru:1ls. and for !ha wetl-bei119 of the ar1im.sfa;_ Primary enclosures must be placed m the housmg ladkty
                 S-O as tc protect Lne- nt}fltlumar: pri.mates frorn 0.~COS:Si'l'C »ght

                 GhukL a Aini;;-tatZ6d L~fnur is houser! iit M li!nclosurs in a mammal roa~r: of t~ rephla house. Chuki's erldosure doas
                 not r;a¥e adequate foght~ng throughout The back o" ttlf.! encklsum and the area around the purt~bor· afe O;;irticu1a~11
                di~icult to ~b~l'Vf.L




                 1he area ::rust D(.t a!t(Stoo so lf'~a! su11locm1 ltghl rs uni1orm•y dl;tu~e.o 1t1riJJgr1ot.n Chuk; s orciosutr.). To tic o:m•1.::c~oo
                ZJ;.•: Septe-moor 16 ., 201 ·~ .

,........_, 3..      aoia}  1z~   {iilr                                                                                 ;.REPEAT
                                                                                                                        ,,,'~!$'fi'.:'.p,,;,;:;b '    .
           /.......¥.ENCLO.SURIS.
       v          ,ma~; e"closures mt•5ot                                    w
                                                  t;iJn~~r;cted and msir.tainoo sc thar t-·1ey comairr the r..onnt,man vrimat~ securely and
                prevent .sc:doenta1 opi=>...ning oi the en..'110f.ure, im:hJdin9 npening bt tha animal.

                During the mspe<.::";ion, AfOirah fa one year r.:.Q Htimadryas 100-on) e~·ca.100 from her p1'imarv enclosure She was                      r..
                c.,-apiured and relurned ·to her am:losm~. The lieeinsee it11:::icae.ed .4.rnir1:1b had esr..:apad before am:! the~· had rr: ~tSe
                w;:,mo cll&n9a to the G:nc1osu1-e _
                ~a'j.iing ar:· endosurf. wh~t::t1 doQf:                                      t1c1 a.d9ejttately cor1tai1"l me af'l:tnaill; ,po$t!S a physci~i r1;;uard to IM al'd1·na1;a atd tc
                Jhe- public,

        }il'tl!;} :f.lt't.;:;!Murf! l'nLi>:I oo fflpalrnd, raplar~d. or ~~,such a. e:ar1t1<!ilt th~t c'°r~irn> trw an1rm.1J£..
                3.84                             ta}
                CLEANING, SANfllZATfON. HOUSEKEEP.                                                                                                    'EST CONTROL.
                QiU'ariing:GfpriITTa!)' e:nclosttrel:I. foxcrem and fooo waste most 'be rl)f'MJ..,,.ied :rorn irs.iOO each indoor p.rimary enciOOU'fe
                                                                                         0


                dail)' a:ict irom i..ndeTnea~t; 1hen ai'l OitE'n as n.eces~a:t}' 10 pr<'!···~nt an ~xcessi..•e a.cr.u!'!'!Ur~tlon ot

                Mll!U'f   n. ·,   I. li!f..-T   UP I      . l.1 :tUf.1 . 1   n   1 Oil Ii 1111 T                    I      11 lf        .    i1 Ml( -     I         ifq_J .m·1·        1      "l'1'1" Mfr .i!       ...    (   1 3 Q   'Ii     Mi'f 1   t PW   ,




                                                          CV~HH\A. M NElS, AC I                                                                USOA, APHIS, Animal Ca.re:                                                         Pate:
                            Title:                        ANtMAt CARE ;NSPECTOA                                                                Inspector i 041


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                                                               liillliFil!li?ll   li!liH1f ii.      l         flfi·z WIH      -r _,..,.                Jl"_l·H "iliiif(li" T.l.TR


            feces and food waste, to prevem the nonhtiff.an prcmates ff-0tr booom;ngsoiled, and to reducet1ise0se naz~ros
            · 1ti>ects, ~s1s, a~ t;Jdors.

            The perct-~s in the RhesJs moc-.aQJJes' enclosure /,main nonht,unan primate bl.tii:diog-~ ha~ an exc~f.ve buiirj UP of
            arimal waste and i'.lther dirt and debris, This ~Qi11es into .;::on?aci wW1 the rnacaq~e~. v.·hen fhey arE ori th~ perch.
            Ttt@~ "S: .ru1 '3ll:~llfil Pf'~~fl(!fl ot waste oo the perch m tn,2 Hoo f%i~od L-0murs ·~noost.m imammal room of tne
            reptile hv1fse'.1 Thi$ come'$ intc cont¥:t w.fl;h ~he 1e.rnur when it. is on f!lt: pe.r{:h.



            1lliJi! p~n::h@s mu& di:lan~'!J •U'td mam~ain"d .cJ~an on a regular basis.


I          3.84                     id}
           Cl..f!Af'UNG. SANITIZATION. HOUSef<E!PJNG, AND PEST CONTROL •
          .Pe~t roJ:Urol. la:n ef~e!Ctive program for control of i nseds., ei.:tema1 parnsttes affec-:ling rooh 1.mt.1r. primaies, and birds
           sr:i;f ~mm.als t~~t are pests, mus: be esta.bll.$.hed and :naintained so as to prQnll~e 1na health and wer1-bei11g of 1tw
           ar imals a.no reauco COfltammabon by pests mammal areas.

           AL areas housing nonhuman primares, and ;ii(lst u1 the prem·ses, h~d •m ~i<n&ssive pr~sence nf fli~. hr additicn tn
           the 11ios, fly rGSidue coo:.ild oo on nc.usir')Q and faci~ty sudaoos. Also, tnefe is a n.i-Ot.-SC prcblem Ir. 1he nonhuman
           Drim:;;t~ arei:i of 1f'li;; reptl!F, ho~,"'':it:i'- Holes cr~ijfefj by mice (~t.1lr.i be s~n in t!R:! waif and C'€!iling. Mou~ f<:!ce!i. w.Sls
           also observed or~ the perch belongir)g tn. ?he Ae<.i Ruflett Ltm'lut .


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         ; Ari effoolive pro!}ra:rr; to oontroMi~A affd micemvst oo deve.or>OO and ii'rp!ememed. To be .corrected by· Se;ptemoor
          ,16, 2011.                                                       .
                   .127 fb'i
           fACILf'fleS, OUTDOOR,
          She!ter from irreieff'ertt v.ieatne-r. Na:u.ra~ or artificial sheltef appr<ipriate to the loc.al chmatic conditions for the spec.ies
          ooN::arnad s~U be pro!.oii;ied for atl ~nimals kept outdoors to attord them pmtec11on and to preven1 ni.i;r;o!'Mfort to stK:h
          .ar.lmals_
          The c.arn~I has p-ushed Jts shelter en o1 the basi:;. fn doing so, :he sh.al~er is not ~II enough tc aUow the camel to
          s1aod coavfor!ably W· Lflir, tho sh~€!r

           Tllts does           not pro'.!lica for 1ha .c-os11fort and weH ~Ing c1 thE:' ,::;amel.
          The c-amel"$ ~ler m.~~$t be altered $0 tttat .if i'.5 of wff"(!ient height f<r a!iow ~hfi cam~i to riji'li'\in ir, the ~he!t~r in fhe
          normal standmg pcsibon r o bfi! cortacted by; Augmst 29, 2011.



          1.. ii   a r r   Pt   r         1 f   Iii I   r. f        . lil Olfl     ,.I ."i .     I .••        11 f       . F . ;· . u1rr1              1i       111 Nil Pi!    17 ,   1 ·   u   1   11   n· .   t   -il •    tr   1          11 r




                                          CYNTH~A         M NEtS, A C I                                                      USDA, APHIS, Animal Care-                                                          Date!
                                          ANIMAl. CARE JNSPfCTOR                                                             Inspect-Of 1041                                                                Ai.Jg-17-?0 t ;



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                     1.130
                       IATeAiNG.
                   [req1Jercy of watering shall t'-Ol"Sider age, :!1pooes. co~ij,t+on, s~ze, ar-o wpe of tne animal All \\'a!er receptaclies shaU
        r/ ae kept clean .and        san~tC!ri.                                                    .

                     There ':s an e~:coos;·.;e presen<::e of algae in the 'o\iaier roc:~pt>'.~cl.as 'belonging to the .r:.a•.:·1 the c~pynara, and 1he
                    bobcat

                    Faii:urf'.! to pro\t:-Oe ctean ~nd s,ar1it~ry w~~·EH rec-ept;::tcle~ (:fc-:>P.S rn~ p<twide tor th!7 ("prnfort ·r.tnd well beinr. of 1he
                    ar:imals. J~ t-'2:1t1 also innibit nonrial waler intake.

                    Water rer:r:;;::;tac!es mu5t be cleaned and marmained. Ta bE- correr:t>E:?d or Ai:~il'"st 22. 20t 1.
                    3.131                          13)
                    SAHtTATION.
                    Pl~w·inq ot -ef!Closure                          E~creta -.. JI                    be removed from primary en•:4.ost..res as oiten as r.ecessary lo pr~vent
                    corztamlnat'i(:ll"J of the ~n1ma S-<:'.ant.ainec;i ttier&in a;nd 10 minimized sa~i;e na.zard5 and to reduce oO.:>r~.

                   Theri;:- ".s ar: e.~Clii!Ssi11e pt~ of a.nimat waste-_ in ttie following en~k>stHe.s; ooa.r, Hair.ca, kirl1'.ajou ;educatkinaJ
                    cert~rJ.   African porcupine. and armactmo. iM exc:.essive wa:ste 1s being w41k..ed on ll'.r' the animals. Also. anirnal
                   ·.vame, dirt ar-<1 tosiduc ,,•as oMilt,,..c.-d on tho wall in th.e sorva e11c1osuro, ~he turn1turit :11 the k1r.~a1ou c~nelos1;:tu, and
                   on 1he e>rteri<ir of 1he f"'-"ll"''.i c~v•f!f~ di:>h.                                          ,




 /'J.131                                           iO)
                   SAflJtTATJON.
                   liouseke®tng. Premises l:f;.i.Jtldings aoo grounds) shall be kept c1ea11 and in gooo r-epmr in order 10 protect thr.::
                   ~rimafs tro.m !nrury end 1o fat.ilitste ~ha p.res.:::rit;eo husbandry p-·ac,ice!'.. sat fonh in ~h ~:subpart. Accum1,1ia1ion:!1 qf
                   ltru.tt:• snail txr pactXJ tn doslgnatoo areas itnd t::;fllaroo as m:.'Cessaty to pmtt'Cl ~h-0 tleaun o1 tho ardrnals.

                   Open bOxt;S of proouc~ ar~ beirlg stored in walkway.s of the back tnart.l!i':al housing art:a o~ the reptile wilding.. In the
                   same animal h<>t.sttig atoa, there ate boxes. empty· food nags, oogs of tooo, aod opf:'o bags of food. nooo at "1t°N::tt
                   ar~     m•'tintained :n a.11 o.r~erly ~aahiqn, Beddi'1!J anc:I debris from <=:nr,:it~~:Jr~ ma-ift1en~oce ha!'.i ooen aft.?wed 10
                   accuntula~ along         fhe wall$ ~11d the 1~\i!l~erials storro en thi,s area.




                   M. 71 ·11 lMll..IPH 9J'ljiilJ    .fin P XJ                      b I _·@     l l!ibf!!I •         t       mn·   H111 .Aa.   1.111.         1111·,.1            i     1             ·•    ,-_,   1         11        1   o,-..i1rr   w rm r ·. -           l!itt




                                                         GYN'THU\ M NEIS, AC I                                                       USO.A, APBIS, Animal Care                                                                      Date:


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                   ill~tved By~
                                                         AN-JMAt CA.HE lNSPECTOff                                                    lnspect-01 ~ 04l

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      Prcepared By;
                                                           CYN>THlA M NEIS, A C I                                                                                             USO.A, >\PHIS.                                    Ar.,im~l                Care                                                    Oate~

                          Title:                          AN~MAl                        CARE 1NSPECTOR                                                                        Inspector 1041                                                                                                                    Al.'!j-17-:?.·011

      Reeetved By.:
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